    Case 1:14-cv-07349-JBW-RML Document 125 Filed 01/24/19 Page 1 of 3 PageID #: 1785




                                            THE CITY OF NEW YORK
ZACHARY W. CARTER                          LAW DEPARTMENT                                            KAVIN THADANI
Corporation Counsel                             100 CHURCH STREET                                         Senior Counsel
                                                NEW YORK, NY 10007                                 Phone: (212) 356-2351
                                                                                                     Fax: (212) 356-3509
                                                                                                   kthadani@law.nyc.gov


                                                                           January 24, 2019

       VIA ECF
       Honorable Jack B. Weinstein
       United States District Court
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York 11201

                      Re:     Larry Thompson v. Clark, et al., 1:14-cv-07349-JBW-RML

       Your Honor:

              I am a Senior Counsel in the office of Zachary W. Carter, Corporation Counsel of the
       City of New York, representing defendants Clark, Montefusco, Bouwmans and Romano in the
       above-referenced matter. Pursuant to Your Honor’s directive, defendants respectfully write to
       supplement their prior submission, dated January 23, 2019 (Docket No. 123), following the
       testimony of plaintiff’s criminal defense attorney, Renate Lunn, Esq., this morning.

              It is well settled that plaintiff bears the burden of proof to establish each and every
       element of his malicious prosecution claim. See, e.g., Evans v. City of New York., No. 12-CV-
       5341 (MKB), 2015 U.S. Dist. LEXIS 37781, at *27 n.10 (E.D.N.Y. Mar. 25, 2015).
       Specifically, with respect to the issue of favorable termination, “[i]n order to meet his burden of
       proof on this element, a plaintiff must present evidence of the circumstances under which the
       criminal proceeding was terminated.” Russo v. New York, 672 F.2d 1014, 1020 (2d Cir. 1982).

               Ms. Lunn’s testimony makes clear that the dismissal of the underlying criminal case “in
       the interest of justice” did not affirmatively indicate plaintiff’s innocence of the crimes for which
       he was arrested on January 15, 2014.

              Ms. Lunn testified that she did not know why the District Attorney’s Office moved to
       dismiss the case. Ms. Lunn further testified that her oral motion to dismiss for facial
Case 1:14-cv-07349-JBW-RML Document 125 Filed 01/24/19 Page 2 of 3 PageID #: 1786



  insufficiency, which she had made at a prior court appearance, was denied by the criminal court
  judge. Notwithstanding that Ms. Lunn was directed to file a written motion, she never did.1

           Moreover, the transcript for the last court appearance in the underlying criminal case
  clearly demonstrates that the Kings County District Attorney’s Office moved to dismiss the case
  “in the interest of justice.” See Apr. 9, 2014 Criminal Court Transcript (Docket No. 45-18). In
  response to that motion, the criminal court judge dismissed the case. See id. Ms. Lunn testified
  that she had no reason to believe that this transcript did not accurately reflect what occurred at
  this last court appearance. Moreover, Ms. Lunn testified that neither the dismissal transcript, nor
  the certificate of dismissal, affirmatively indicate plaintiff’s innocence.

          As explained in defendants’ prior submissions, where a dismissal in the interest of justice
  leaves the question of guilt or innocence open, as is the case here, such a dismissal does not
  qualify as a favorable termination. See Lanning v. City of Glens Falls, No. 17-970-cv, 2018 U.S.
  App. LEXIS 31489, at *28-29 (2d Cir. Nov. 7, 2018) (citing Hygh v. Jacobs, 961 F.2d 359, 368
  (2d Cir. 1992) (holding that a dismissal “in the interest of justice” cannot, as a matter of law,
  provide the favorable termination required as the basis for a malicious prosecution claim because
  it is neither an acquittal of the charges nor a determination of the merits, but rather leaves the
  question of guilt or innocence unanswered)); see also, e.g., Burke v. Town of E. Hampton, No.
  99-CV-5798 (JS), 99-CV-5799 (JS), 2001 U.S. Dist. LEXIS 22505, at *36 (E.D.N.Y. Mar. 16,
  2001) (“In this Circuit, it is well established, as a matter of law, that ‘[a] dismissal in the interests
  of justice] cannot provide the favorable termination required as the basis for a claim of malicious
  prosecution.’ Therefore, . . . the dismissal of the criminal charges against the plaintiffs in the
  interests of justice bars them from maintaining a claim of malicious prosecution.”).

          Moreover, even if plaintiff’s underlying criminal case was not dismissed “in the interest
  of justice,” his malicious prosecution claim would still fail. As previously explained, pursuant to
  controlling Second Circuit case law, in order to establish the favorable termination element of a
  malicious prosecution claim brought pursuant to 42 U.S.C. § 1983, a plaintiff must prove that the
  underlying criminal proceeding was terminated in a manner affirmatively indicative of the
  plaintiff’s innocence. See Lanning, 2018 U.S. App. LEXIS 31489, at *8-18; see also id. at *10
  (“Our prior decisions requiring affirmative indications of innocence to establish ‘favorable
  termination’ . . . continue to govern § 1983 malicious prosecution claims.”).

         In other words, for the purposes of a § 1983 malicious prosecution claim, criminal
  proceedings are terminated in favor of the accused only when their final disposition indicates that
  the accused is not guilty. See id. at *12. When the issue of guilt is left open, a malicious
  prosecution claim must fail. See id.

  1
      Defendants note that, had Ms. Lunn’s motion to dismiss for facial insufficiency been granted,
  plaintiff’s malicious prosecution claim would still fail because, pursuant to controlling Second
  Circuit case law, a dismissal based on facial insufficiency does not constitute a favorable
  termination because it is not a decision on the merits. See Russell v. Journal News, 672 F. App’x
  76, 78-79 (2d Cir. 2016) (citing cases).



                                                     2
Case 1:14-cv-07349-JBW-RML Document 125 Filed 01/24/19 Page 3 of 3 PageID #: 1787



          Here, there can be no dispute that the issue of guilt was left open in the underlying
  criminal case. Moreover, as Ms. Lunn testified, and as the criminal court transcript clearly
  reflects, there is nothing in the criminal court transcript which affirmatively indicated that
  plaintiff was innocent of the crimes charged.

          Thus, by way of example only, following the Lanning decision, courts in the Second
  Circuit have dismissed malicious prosecution claims where the underlying criminal action is
  dismissed in a manner which does not affirmatively indicate the plaintiff’s innocence, such as a
  speedy trial dismissal. See, e.g., Thompson v. City of New York, No. 17cv3064(DLC), 2019 U.S.
  Dist. LEXIS 4848, at *10 (S.D.N.Y. Jan. 10, 2019).

        Accordingly, for the foregoing reasons, and for the reasons outlined in defendants’ prior
  submissions, plaintiff’s malicious prosecution claim must be dismissed.

         Thank you for your consideration in this regard.

                                                             Respectfully,

                                                             /s/ Kavin Thadani______

                                                             Kavin Thadani
                                                             Senior Counsel
                                                             Special Federal Litigation

  cc:    VIA ECF
         David Zelman, Esq.
         Cary London, Esq.
         Attorneys for Plaintiff




                                                 3
